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EXHIBIT B
 

 

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O THE
AGREEMED

  

IRST AMENDMENT T
ATION AND CONTROL .

   

This Amendment (the "Amendment" to the Operation and Control Agreement (the "O&C -
Agreement") is made and entered into as of December 30, 2016 as amended , (the "Effective
Date") by and between TBC HOLDINGS OF MELBOURNE INC., a Florida Corporation (the
"Manager"), and BREVARD ORTHOPAEDIC, SPINE & PAIN CLINIC, INC. (the "Practice"),
The Manager and the Practice are individually referred as a "Party" and collectively the "Parties.''
All capitalized terms used in this Amendment and not otherwise defined herein shall have the same
meaning as set forth in the O&C Agreement,

WITNESSETH:
WHEREAS, the Manager is in the business of managing medical practices; and

WHEREAS, the Practice is in the businggs of operating a group medical practice through
its employed or contracted physicians and Physician Extenders; and

WHEREAS, the Manager and the Practice entered into an O&C Agreement effective
May 1, 2015, pursuant to which the Practice engaged the Manager to manage the business and
administrative functions of the Practice, in accordance with the terms and conditions set forth
therein; and

WHEREAS, the Parties desire to amend the O&C Agreement on the terms herein set forth.

NOW THEREFORE, in consideration of the mutual covenants and agreements
contained herein and other good and valuable consideration, the receipt and sufficiency of which
are hereby acknowledged, and intending to be legally bound, the Parties agree as follows:

1, To extended the term of the agregment until December 31, 2019

2. To allow either party to cancel with 90 days written notice.

3, Except as expressly set forth in this Amendment, all other terms and provisions of —
the O&C Agreement remain in full force and effect.

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4, This Amendment shall be binding upon and inure to the benefit of the Parties
hereto and their respective successors and assigns, but shall not be assigned by any party without
the written consent of the other Party hereto (which consent may be withheld in the sole
discretion of such other Party).

5, This Amendment shall be considered an integral part of the O&C Agreement. This -
Amendment sets forth all of the promises, covenants, agreements, conditions and understandings
between the Parties with respect to the subjegt matter hereof, and supersedes all prior and
contemporaneous agreements and understantlings, inducements or conditions, express or implied,
oral or written, with respect hereto, except ag contained herein.

6, This Amendment may be executed in any number of counterparts, each of which
shall be deemed an original and all of which constitute but one and the same instrument.

7. This Amendment shall be governed by and construed in accordance with the laws
of the State of Florida,

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IN WITNESS WHEREOF, the Parties hereto have caused the execution of this
Amendment as of the Effective Date first written shove by the officers whose names appear below.

 

  
 

PRACTICE

BREVARD ORTHOPAEDI i SPINE & PAIN
CLINIC, INC. f

Byk.,
Name:
Title:

 

{Signature Page to Amendment to Qperation and Control Agreement]

 
